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                               UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION


     OHIO A. PHILIP RANDOLPH INSTITUTE )
     ET AL.,                           )                          No. 1:18-cv-357
                                       )
             Plaintiffs,               )                          ORDER DENYING
                                       )                          EMERGENCY MOTIONS TO
     v.                                )                          STAY PENDING APPEAL
                                       )
     LARRY HOUSEHOLDER ET AL.,         )
                                       )
             Defendants.               )


    Before: Moore, Circuit Judge; Black and Watson, District Judges.

           Before the Court are Defendants’ and Intervenors’ motions to stay this Court’s injunction

    pending appeal to the Supreme Court of the United States. See Dkt. 266 (Defs.’ Mot. to Stay);

    Dkt. 268 (Intervenors’ Mot. to Stay). Plaintiffs oppose the motion. See Dkt. 269 (Pls.’ Opp’n).

    Defendants and Intervenors waived the opportunity for a reply brief, and the motions are now ripe

    for decision.

           “A stay is not a matter of right . . . .” See Nken v. Holder, 556 U.S. 418, 433 (2009) (citation

    omitted). Courts evaluate four factors in considering a stay pending appeal:

           (1) the likelihood that the party seeking the stay will prevail on the merits of the
           appeal; (2) the likelihood that the moving party will be irreparably harmed absent
           a stay; (3) the prospect that others will be harmed if the court grants the stay; and
           (4) the public interest in granting the stay.
    See Mich. State A. Philip Randolph Inst. v. Johnson, 833 F.3d 656, 661 (6th Cir. 2016); see also

    Nken, 556 U.S. at 434.

           The Court has reviewed these motions and briefs, and the Court finds that the arguments

    raised in the motions mirror the issues considered and ruled upon when the Court previously denied


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    the motion to stay the trial in this matter. See Dkt. 213 (Order Denying Mot. to Stay Trial). No

    new arguments persuade the Court that a stay is now warranted, and therefore the Court adheres

    to its prior analysis. See id. (denying a stay of trial because any effect of Common Cause v. Rucho

    (S. Ct. No. 18-422) and Benisek v. Lamone (S. Ct. No. 18-726) on this case is unknown, and the

    public welfare, relative hardships, and time constraints of this case weigh strongly against a stay).

    Moreover, Defendants and Intervenors attempt to relitigate the merits of the case in these motions

    and avoid the Court’s finding and conclusion that the current map is unconstitutional and has thus

    harmed voters. For the reasons stated in the Opinion and Order, we reject the arguments that

    attempt to relitigate the merits of this case. See Dkt. 262 (Op. & Order).

           The Court also takes this opportunity to emphasize and clarify two points. First and

    foremost, Defendants have not changed their position that a new map would need to be in place

    no later than September 20, 2019. See Dkt. 185-1 (Wolfe Decl. at 2). The Court needs sufficient

    time to assess properly whether any potential State-enacted remedial plan is constitutionally

    acceptable, and, if a remedial plan is not constitutionally acceptable, the Court needs adequate time

    to work with a special master to draw a map and consider any objections from the parties to such

    a plan. This may take time, and the Court will carefully analyze any remedial plan so that the

    voters in Ohio can avoid another election with unconstitutionally drawn districts. Ensuring a

    remedial plan is in place prior to the deadline is the optimal way to avoid voter confusion.

    Presently, Defendants maintain that deadline is September 20, 2019. (Again, we observe that H.B.

    369, the actual plan that was used in the 2012 elections, was signed into law on December 15,

    2011.) The Court is committed to working with Defendants’ deadline while also discharging its

    “own duty to cure illegally gerrymandered districts . . . .” See North Carolina v. Covington, 138

    S. Ct. 2548, 2553–54 (2018).



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           Second, the Court’s Order does not “require[] both houses of the General Assembly to

    separately introduce . . . a new congressional districting plan . . . .” See Dkt. 266 (Defs.’ Mot. to

    Stay at 12) (emphasis added). One house of the General Assembly could introduce one new plan,

    which could then pass both houses and be signed by the Governor; the State House of

    Representatives and State Senate need not introduce separate and different plans for consideration.

    The Court’s Order, however, requires Defendants to submit alternative plans (if any) considered

    by the General Assembly or any constituent committee. See Dkt. 262 (Op. & Order at 295). In

    fact, the Court’s Order does not require the State to draw its own remedial plan at all, but the Court

    has allowed the State the opportunity to cure its own unconstitutional gerrymander. Id. at 294–96.

    The Court continues to hope that the State will take that opportunity.

           Accordingly, the relevant factors and circumstances of this case continue to weigh against

    granting a stay. The Court therefore DENIES the motions to stay this Court’s Order.



    ENTERED: May 9, 2019

                                               s/ Karen Nelson Moore
                                               HONORABLE KAREN NELSON MOORE
                                               United States Circuit Judge

                                               s/ Timothy S. Black
                                               HONORABLE TIMOTHY S. BLACK
                                               United States District Judge

                                               s/ Michael H. Watson
                                               HONORABLE MICHAEL H. WATSON
                                               United States District Judge




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